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 UNITED STATES DISTRICT COURT
 EASTERN DISTRICT OF NEW YORK
 ------------------------------X
 UNITED STATES OF AMERICA,

            -against-                      MEMORANDUM AND ORDER
                                              02-CR-1298 (DRH)

 FRANCINE SWEET,

                Defendant.
 ------------------------------X
 A P P E A R A N C E S:

 For the Government:
      Roslynn R. Mauskopf
      United States Attorney
      Eastern District of New York
      One Pierrepont Plaza
      Brooklyn, New York 11201
        By: Geoffrey Kaiser, A.U.S.A.

 For the Defendant:
      Scott E. Leemon, P.C.
      260 Madison Avenue, 20th Floor
      New York, New York 10016

 HURLEY, District Judge

            The Court is in receipt of a pro se motion prepared by

 defendant, and forwarded to me by her attorney, in which she

 requests that the Court make certain recommendations, presumably

 to the Bureau of Prisons, “so that she may serve the remaining 6

 months of her sentence on Home Confinement or other community

 release Halfway House programs that the Court may deem just and

 proper.”   Additionally, she has made the request that the Court

 recommend that she be “transfer[ed] to community confinement

 pursuant to 18 [U.S.C. §] 3624.”       Assuming, arguendo, that I have

 the authority to make the requested recommendations, I, in the

 exercise of my discretion, decline to do so.
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            I have also received a letter from her attorney dated

 May 10, 2006, which indicates that the Bureau of Prisons is

 deducting payments from her commissary account to be applied

 towards restitution as ordered in this Court’s judgment of

 October 25, 2005.       As requested, and absent objection from the

 government, the Court has filed a amended judgment to indicate

 that the 15% deduction provision will not go into effect until

 such time as she has completed her period of incarceration and is

 on supervised release.

            SO ORDERED.

 Dated: May 12, 2006
        Central Islip, New York




                                               ____________/S/____________
                                               DENIS R. HURLEY, U.S.D.J




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